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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


 INTERLINK PRODUCTS INTERNATIONAL
 INC.,

                Plaintiff/Counter-Defendant,        Civil Action No. 2:16-cv-02153-MCA-LDW

        v.                                           ORDER

CATHY TRADING, LLC d/b/a WANTBA

               Defendant/Counter-Claimant.




        This Matter has been before the Court on Motion of Defendant Cathy Trading for Leave

 to File an Amended Answer, Affirmative Defenses and Counterclaims and the Court having

 considered the submissions and arguments of Counsel, and for other good cause shown,

        IT IS on this ______ day of __________, 2017;

        ORDERED that Defendant’s Motion for Leave to file an Amended Answer, Affirmative

 Defenses and Counterclaims is hereby granted.



                                                   __________________________________
